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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                      CASE NO.: 0:16cv62567

  PATRICK GENTLES,

         Plaintiff,

  v.

  GENERAL REVENUE CORPORATION,

        Defendant.
  _______________________________________/

                             NOTICE OF PENDING SETTLEMENT

         Plaintiff, PATRICK GENTLES, by and through undersigned counsel, hereby submits

  this Notice of Pending Settlement and states the parties have reached a settlement with regard to

  this case and are presently drafting, finalizing, and executing the formal settlement documents.

  Upon full execution of the same, the parties will file the appropriate dismissal documents with

  the Court.

  Dated: May 24, 2017                         Respectfully Submitted,

                                                    /s/ Jibrael S. Hindi
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                                                   COUNSEL FOR PLAINTIFF
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 24, 2017, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.



                                                     /s/ Jibrael S. Hindi
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